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                                                                                                 Ch 13 Model Plan (rev 7/22/13)


                                              United States Bankruptcy Court
                                      Southern District of Indiana, Indianapolis Division

IN RE:                                                                                       Case No. 16-08573-JJG-13
Maxey, Shontel Latancia                                                                      Chapter 13
                                          Debtor(s)
                                                       CHAPTER 13 PLAN
                                              [ ] Original [X] Amended Plan #.       2   .
                                                       **MUST BE DESIGNAITED**

1. GENERAL PROVISIONS:

    (a) YOUR RIGHTS MAY BE AFFECTED. Read these papers carefully and discuss them with your attorney. If you oppose
any provision of this plan, you must file a timely written objection. This plan may be confirmed without further notice or hearing
unless a written objection is filed before the deadline stated on the separate Notice you received from the Bankruptcy Court. If you
have a secured claim, this plan may modify your lien if you do not object to the plan.

     (b) PROOFS OF CLAIM: This plan does not allow claims. You must file a proof of claim to receive pre-confirmation
adequate protection payments and to receive distribution under a confirmed plan. The filed proof of claim shall control as to the
claim amount for pre-petition arrearages, secured and priority tax liabilities, and any payment in full offers unless specifically
objected to and determined otherwise by the Court. All claims that are secured by a security interest in real estate shall comply with
the requirements of B.R. 3001(c) without regard to whether the real estate is the debtor's principal residence.

    (c) NOTICES RELATING TO MORTGAGES: All creditors with claims secured by a security interest in real estate shall
comply with the requirements of FRBP 3002.1 without regard to whether the real estate is the debtor's principal residence. In
addition to the requirements of FRBP 3002.1, should there be a change in the mortgage servicer while the bankruptcy is pending, the
mortgage holder shall file with the Bankruptcy Court and serve upon the Debtor, Debtor's counsel and the Chapter 13 Trustee
(“Trustee” ) a Notice setting forth the change and providing the name of the servicer, the payment address, a contact phone number
and a contact e-mail address.

     (d) NOTICES (OTHER THAN THOSE RELATING TO MORTGAGES): Non-mortgage creditors in Section 7(c) (whose
rights are not being modified) or in Section 10 (whose executory contracts/unexpired leases are being assumed) may continue to mail
customary notices or coupons to the Debtor or the Trustee notwithstanding the automatic stay.

     (e) ADEQUATE PROTECTION PAYMENTS: In accordance with Local Rule B-3015-3, any adequate protection payment
offers shall be based upon 1% of the proposed allowed secured claim, although that presumption may be rebutted. The Trustee shall
disburse such payments to the secured creditor as soon as practicable after receiving plan payments from the Debtor, and the
allowable secured claim will be reduced accordingly. All adequate protection payments shall be subject to the Trustee's percentage
fee as set by the United States Trustee. No adequate protection payments will be made by the Debtor directly to the creditor.

    (f) EQUAL MONTHLY PAYMENTS: The Trustee may increase the amount of any “                 Equal Monthly Amount”offered to
appropriately amortize the claim. The Trustee shall be permitted to accelerate payments to any class of creditor for efficient
administration of the case.

     (g) PAYMENTS FOLLOWING ENTRY OF ORDERS LIFTING STAY: Upon entry of an order lifting the stay, no
distributions shall be made on any secured claim relating to the subject collateral until such time as a timely amended deficiency
claim is filed by such creditor and deemed allowed, or the automatic stay is re-imposed by further order of the Court.

2. SUBMISSION OF INCOME: Debtor submits to the supervision and control of the Trustee all or such portion of future earnings
or other future income or specified property of the Debtor as is necessary for the execution of this plan.

3. PLAN TERMS:
     (a). PAYMENT AND LENGTH OF PLAN: Debtor has paid $ 1,354.00 through March 7, 2016 (the first 4 months of this
Plan) and Debtor shall pay $ 86.00 per month to the trustee starting April 7, 2016, for approximately 32 months, for a total amount
of $ 4,106.00. Additional payments to trustee:


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        (b) INCREASED FUNDING: If additional property comes into the estate pursuant to 11 U.S.C. §1306(a)(1) or if the Trustee
discovers undisclosed property of the estate, then the Trustee may obtain such property or its proceeds to increase the total amount to
be paid under the plan. No motion to modify the plan will be required but the Trustee may file a report to court. However, if the
Trustee elects to take less than 100% of the property to which the estate is entitled OR less than the amount necessary to pay all
allowed claims in full, then a motion to compromise and settle will be filed, and appropriate notice given.
     (c) CURING DEFAULTS: If Debtor falls behind on plan payments or if changes to the payments owed to secured lenders
require additional funds from the Debtor's income, the Debtor and the Trustee may agree that the Debtor(s) will increase the
payment amount each month or that the time period for making payments will be extended, not to exceed 60 months. Creditors will
not receive notice of any such agreement unless the total amount that the Debtor(s) will pay to the Trustee decreases. Any party may
request in writing, addressed to the Trustee at the address shown on the notice of the meeting of creditors, that the Trustee give that
party notice of any such agreement. Agreements under this section cannot extend the term of the plan more than 6 additional
months.
     (d) OTHER PLAN CHANGES: Any other modification of the plan shall be proposed by motion pursuant to 11 U.S.C. §1329.
Service of any motion to modify this plan shall be made by the moving party as required by FRBP 2002(a)(5) and 3015(g), unless
otherwise ordered by the Court.

4. ADMINISTRATIVE CLAIMS (INCLUSIVE OF DEBTOR'S ATTORNEY FEES):
All administrative claims will be paid in full by the Trustee unless creditor agrees otherwise:
                                                                                                                            Scheduled
Creditor                                                   Type of Priority                                                   Amount
                                                           Cure Residential Lease Arrearage (see Paragraphs
Glen & Jackie Timmons                                                                                                         1,500.00
                                                           10 & 14)

5. DOMESTIC SUPPORT OBLIGATIONS: The following Domestic Support Obligations will be paid in the manner specified:
                                                                                     Estimated
Creditor                               Type of Claim                                   Arrears Treatment
None
DEBTOR IS REQUIRED TO PAY ANY PAYMENTS FALLING DUE AFTER THE FILING OF THE CASE PURSUANT
TO A DOMESTIC SUPPORT ORDER DIRECTLY TO THE PAYEE IN ORDER FOR THIS PLAN TO BE CONFIRMED
AND FOR DEBTOR TO RECEIVE A DISCHARGE FROM THE COURT UPON COMPLETION OF PLAN PAYMENTS
HEREIN.

6. SECURED CLAIMS RELATING SOLELY TO THE DEBTOR'S PRINCIPAL RESIDENCE-CURING DEFAULTS
AND/OR MAINTAINING PAYMENTS (INCLUSIVE OF REAL ESTATE TAXES AND HOMEOWNER’                                            S ASSOCIATION
ARREARS): If there is a pre-petition arrearage claim on a mortgage secured by the Debtor's principal residence, then both the
pre-petition arrearage and the post-petition mortgage installments shall be made through the Trustee. Initial post-petition payment
arrears shall be paid with secured creditors. If there are no arrears, the Debtor may pay the secured creditor directly. Estimated
Current Monthly Installment listed below shall be adjusted based on filed claim and/or notice.
                                                                                                          Estimated
                                                                                                             Current
                                                                                        Estimated           Monthly       Trustee Pay/
Creditor                                 Residential Address                              Arrears        Installment        Direct Pay
None

No late charges, fees or other monetary amounts shall be assessed based on the timing of any payments made by the Trustee
under the provisions of the Plan, unless allowed by Order of the Court.

7. SECURED CLAIMS OTHER THAN CLAIMS RELATING TO THE DEBTOR'S PRINCIPAL RESIDENCE: After
confirmation of the plan, the Trustee will pay to the holder of each allowed secured claim the equal monthly amount in column
(a)(6) or (b)(7) based upon the amount of the claim [(Para. 7(a), column (4)] or value offer [(Para. 7(b), column (5)] with interest at
the rate stated in column (a)(5) or (b)(6).



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(a) Secured Claims To Which 11 U.S.C. 506 Valuation Is Not Applicable:
                                                                                                                       (7) Adequate
                                                                                                                          Protection
                                                                                           (4)                         Amount (1%
                                                                         (3)        Estimated          (5)   (6) Equal    of allowed
                                                                      Purchase          Claim     Interest    Monthly        secured
(1) Creditor                     (2) Collateral                         Date         Amount          Rate     Payment         claim)



Additional plan offer, if any, as relates to above claim(s):

(b) Secured Claims to Which 11 U.S.C. 506 Valuation is Applicable:
                                                                                                                       (8) Adequate
                                                                                                                          Protection
                                                                                                                       Amount (1%
                                                         (3)               (4)                         (6)   (7) Equal    of allowed
                                                      Purchase       Scheduled                    Interest    Monthly        secured
(1) Creditor              (2) Collateral                Date              Debt        (5) Value      Rate     Amount          claim)
                          Clothes Washer &
Rent-A-Center             Dryer                      10/31/2016        1,500.00         700.00     4.50%          7.00            7.00
Additional plan offer, if any, as relates to above claim(s):

(c) Curing Defaults and/or Maintaining Payments: Trustee shall pay allowed claim for arrearage, and Debtor shall pay regular
post-petition contract payments directly to the creditor:
                                                                                                                              Interest
                                                                                                              Estimated       Rate (if
Creditor                                                Collateral/Type of Debt                                 Arrears          any)


(d) Surrendered/Abandoned Collateral: The Debtor intends to surrender the following collateral. Upon confirmation, the Chapter
13 estate abandons any interest in, and the automatic stay pursuant to 11 U.S.C. §362 is terminated as to, the listed collateral. Upon
confirmation, the secured creditor is free to pursue its in rem rights in state court.
                                                                                                                           Scheduled
                                                                                                                            Value of
Creditor                                                       Collateral to be Surrendered/Abandoned                       Property
Credit Acceptance                                              2005 GMC Yukon                                                5,286.77
S C S Credit Corp.                                             2010 Ford Edge                                                6,280.00

8. SECURED TAX CLAIMS AND 11 U.S.C. 507 PRIORITY CLAIMS: All allowed secured tax obligations shall be paid in full
by the Trustee, inclusive of statutory interest thereon (whether or not an interest factor is expressly offered by plan terms). All
allowed priority claims shall be paid in full by the Trustee, exclusive of interest, unless the creditor agrees otherwise:
Creditor                                   Type of Priority or Secured Claim      Scheduled Debt Treatment


9. NON-PRIORITY UNSECURED CLAIMS:
(a) Separately Classified or Long-term Debts:
                                                                                                                           Interest (if
Creditor                            Basis for Classification              Treatment                            Amount            any)
None



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 (b) General Unsecured Claims:
 [X] Pro rata distribution from any remaining funds; or
 [ ] Other:

 10. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: All executory contracts and unexpired leases are REJECTED,
 except the following, which are assumed:
 Creditor                                      Property Description                                      Treatment
 Glen & Jackie Timmons                         Residential Lease, Year-to-Year through April 30, 2017,   Assume & Cure Arrears through Plan
                                               Debtor i
                                                                                                         as an administrative priority claim per
                                                                                                         Paragraphs 4 &14.

 11. AVOIDANCE OF LIENS: Debtor will file a separate motion or adversary proceeding to avoid the following non-purchase
 money security interests, judicial liens, wholly unsecured mortgages or other liens that impair exemptions:
                                                                                                                                  Amount of Lien
 Creditor                                                        Collateral/Property Description                                   to be Avoided
 None

 12. LIEN RETENTION: With respect to each allowed secured claim provided for by the plan, the holder of such claim shall retain
 its lien securing such claim until the earlier of a) the payment of the underlying debt determined under non-bankruptcy law or b) a
 discharge order being entered under 11 U.S.C.1328.

 13. VESTING OF PROPERTY OF THE ESTATE: Except as necessary to fund the plan or as expressly retained by the plan or
 confirmation order, the property of the estate shall revest in the Debtor upon confirmation of the Debtor ’  s plan, subject to the rights
 of the Trustee, if any, to assert claim to any additional property of the estate acquired by the Debtor post-petition pursuant to
 operation of 11 U.S.C. 1306.

 14. MISCELLANEOUS PROVISIONS:
 Debtor shall provide copies of her income tax returns to Trustee within 15 days of filing them. Debtor shall turnover
 one-half (1/2) of the net of her federal and state income tax refunds after subtracting any earned income credit to the
 Trustee within 15 days of receiving those refunds.

 Debtor is approximately $1,500 in arrears to her landlord where she lives. This arrears shall be treated as an administrative
 priority claim and paid before any unsecured creditors are paid.


Dated: March 1, 2017                                                             /s/ Shontel L. Maxey
                                                                                 Signature of Debtor
/s/ Jerry E. Smith
Signature of Attorney                                                            Signature of Spouse (if applicable)

 Jerry E. Smith, Attorney CPA, PC
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